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KRAMER LEVIN NAFTALIS & FRANKEL LLP
Adam C. Rogoff
P. Bradley O’Neill
1177 Avenue of the Americas
New York, New York 10036
Telephone: (212) 715-9100
Facsimile: (212) 715-8000

NELSON MULLINS RILEY & SCARBOROUGH, LLP
Lee B. Hart, Esq.
201 17th Street, Suite 1700
Atlanta, Georgia 30363
Telephone: (404) 322-6000
Facsimile: (404) 322-6050

Gary M. Freedman, Esq.
2 South Biscayne Blvd., 21st Floor
Miami, Florida 33131
Telephone: (305) 373-9400
Facsimile: (305) 373-9443

Co-Counsel for Benefit Street Partners
Realty Operating Partnership, L.P.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
                                                                    :
In re:                                                              : Chapter 11
                                                                    :
96 WYTHE ACQUISITION LLC,                                           : Case No. 21-22108 (RDD)
                                                                    :
                                    Debtor.                         :
                                                                    :
------------------------------------------------------------------ X


          LENDER’S OBJECTION TO DEBTOR’S MOTION TO CLARIFY
         PROTOCOL FOR RELEASE OF EXAMINER REPORT; CONFIRM
       DEADLINES, RESPONSE TO STATUS REPORT; AND RELATED RELIEF




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         Benefit Street Partners Realty Operating Partnership, L.P.1 (“Benefit Street”) submits this

objection (the “Objection”) in response to the Motion to Clarify Protocol for Release of Examiner

Report; Confirm Deadlines, Response to Status Report; and Related Relief [Dkt. No. 397] (the

“Protocol Motion”) filed by 96 Wythe Acquisition LLC (the “Debtor”).


                                                  OBJECTION

         1.       The Examiner provided copies of his draft report (the “Draft Report”) to the

Debtor, the mediator and Benefit Street at midday on Thursday, February 17, 2020.2 Less than

five hours later, professing not to have reviewed the Draft Report, the Debtor filed the Protocol

Motion, seeking, among other things, the creation of a “protocol” to govern its review of the draft.

In particular, the Debtor seeks to review the Draft Report to identify privileged or confidential

information requiring redaction, as well as supposed substantive “errors” in the Examiner’s

findings or conclusions. If the Examiner does not agree to redact information the Debtor claims

is privileged or confidential or declines to “correct” what the Debtor argues are “errors,” the Debtor

also seeks the right to contest those determinations before this Court. The Debtor supports its

motion with two declarations leveling numerous charges against the Examiner, including that he

has created a “misleading narrative” and “an adverse work environment.” Protocol Motion ¶ 17.

         2.       The filing of the Examiner’s final report will be a central event in the case. Not

only do sections 1106(b) and (a)(4) of the Bankruptcy Code require the Examiner to file a



1
 Benefit Street is a wholly owned subsidiary of Franklin Resources, Inc. that, together with various subsidiaries,
operates as Franklin Templeton. Franklin BSP Realty Trust is a publicly traded entity on the New York Stock
Exchange under the ticker symbol FBRT.
2
  At the Examiner’s request, before receiving the Draft Report, Benefit Street agreed that (i) it would treat the draft
report as “Confidential Information” under the terms of the Stipulated Confidentiality Agreement and Protective
Order, so ordered by the Court on September 29, 2021 [Dkt. No. 128] pending the filing of the Examiner’s final report
and (ii) the inclusion of any privileged information in the draft report would be deemed inadvertent and would not
waive any applicable privilege or protection from discovery in this case or any other federal or state proceeding.


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“statement of his investigation” “as soon as practicable,” but prompt resolution of the Protocol

Motion is necessary to facilitate the ongoing confirmation litigation. The filing of the Examiner’s

final report will trigger additional briefing by both sides and its substance will likely be a topic of

the upcoming discovery and evidence at the confirmation hearing.3 Parties in interest should also

have access to the conclusions of the Examiner as an independent estate fiduciary.

         3.       The Draft Report is just over 30 pages long. The Debtor has now had it for over

four days. That is ample time to perform the largely ministerial task of identifying any purportedly

privileged or confidential information and presenting particularized claims on those topics to the

Examiner for his review. If the Debtor and the Examiner cannot reach agreement on proposed

redactions, these straightforward issues should be presented to the Court and resolved by the end

of this week.

         4.       The Debtor’s request for the right to litigate over purported “corrections” to the

Draft Report is overreaching and should be rejected. The Draft Report describes the Examiner’s

investigation and the conclusions that the Examiner reached as a result of that investigation. While

the Debtor may attempt to persuade the Examiner that certain of his findings or conclusions are

erroneous, it has no right to force the Examiner to modify them. Any such changes based on

substantive “corrections” lie exclusively in the discretion of the Examiner himself.

         5.       While there is no basis to allow the Debtor to contest the Examiner’s substantive

conclusions before his report is filed, the Debtor remains free to criticize his report after that

occurs, if the Debtor concludes that course is advisable. See October 29, 2021 Hr’g Tr. 34:15-18

[Dkt. No. 176] (“So if after an examiner issues a report either side spends an unusual amount of


3
  The Debtor asks the Court to deem the Draft Report subject to the mediation privilege. Benefit Street’s agreement
to treat the draft as confidential under the Court’s protective order renders application of the mediation privilege
unnecessary. Moreover, it would needlessly limit the parties’ ability to address the issues raised by the Examiner in
ongoing discovery.


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time challenging it, I’ll take that into account as far as their credibility is concerned; and that’s on

either side. ”).

                                           CONCLUSION

        For the foregoing reasons, Benefit Street respectfully requests that the Court (i) set an

expedited hearing date for the Protocol Motion; (ii) require the prompt presentation and resolution

of any disputes concerning alleged privileged or confidential information contained in the Draft

Report; and (iii) deny the Protocol Motion to the extent the Debtor seeks the right to challenge the

findings or conclusions contained in the Draft Report before this Court before the filing of the

Examiner’s final report.

Dated: February 22, 2022
       New York, New York
                                        KRAMER LEVIN NAFTALIS &FRANKEL LLP

                                        /s/ P. Bradley O’Neill
                                        Adam C. Rogoff
                                        P. Bradley O’Neill
                                        Kramer Levin Naftalis & Frankel LLP
                                        1177 Avenue of the Americas
                                        New York, New York 10036
                                        Telephone: (212) 715-9100
                                        Facsimile: (212) 715-8000
                                        Email: arogoff@kramerlevin.com
                                                boneill@kramerlevin.com

                                        Co-Counsel for Benefit Street Partners Realty Operating
                                        Partnership, L.P.

                                      NELSON MULLINS RILEY & SCARBOROUGH, LLP
                                      Lee B. Hart, Esq.
                                      201 17th Street, Suite 1700
                                      Atlanta, Georgia 30363
                                      Telephone: (404) 322-6000
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                              Telephone: (305) 373-9400
                              Facsimile: (305) 373-9443

                              Co-counsel for Benefit Street Partners
                              Realty Operating Partnership, L.P.




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